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         5.   Within three (3) days of release from prison, the defendant shall register as a sex offender, and keep the registration current, in each
              jurisdiction where he resides, where he is an employee, and where he is a student, pursuant to the registration procedures that have
              been established in each jurisdiction. When registering for the first time, the defendant shall also register in the jurisdiction in which
              the conviction occurred if different from his jurisdiction of residence. The defendant shall provide proof of registration to the
              Probation Officer within 48 hours of registration.

         6.   The defendant shall participate in a psychological counseling or psychiatric treatment or a sex offender treatment program, as
              approved and directed by the Probation Officer. The defendant shall abide by all rules, requirements, and conditions of such
              program. The Probation Officer shall disclose the presentence report or any previous mental health evaluations or reports to the
              treatment provider.

         7.   As directed by the Probation Officer, the defendant shall pay all or part of the costs of treating the defendant's
              psychological/psychiatric disorder(s) to the aftercare contractor during the period of community supervision, pursuant to 18 U.S.C.
              § 3672. The defendant shall provide payment and proof of payment as directed by the Probation Officer.

         8.   The defendant shall not view or possess any materials, including pictures, photographs, books, writings, drawings, videos, or video
              games depicting and/or describing child pornography, as defined at 18 U.S.C. § 2256(8), or sexually explicit conduct, as defined at
              18 U.S.C. §2256(2). This condition does not prohibit the defendant from possessing materials solely because they are necessary to,
              and used for, a collateral attack, nor does it prohibit him from possessing materials prepared and used for the purposes of his Court-
              mandated sex offender treatment, when the defendant's treatment provider or the probation officer has approved of his possession
              of the materials in advance.

         9.   The defendant shall not own, use or have access to services of any commercial mail-receiving agency, nor shall the defendant open
              or maintain a post office box, without prior written approval of the Probation Officer.

         10. The defendant shall not frequent, or loiter, within 100 feet of school yards, parks, public swimming pools, playgrounds, youth
             centers, video arcade facilities, or other places primarily used by persons under the age of 18, without the prior written authorization
             of the probation officer.

         11. The defendant shall not contact the victims by any means, including in person, by mail or electronic means, or via third parties.
             Further, the defendant shall remain at least 100 yards from the victim(s) at all times. If any contact occurs, the defendant shall
             immediately leave the area of contact and report the contact to the Probation Officer.

         12. The defendant shall not associate or have verbal, written, telephonic, or electronic communication with any person under the age
             of 18, except: (a) in the presence of the parent or legal guardian of said minor; and (b) on the condition that the defendant notify
             said parent or legal guardian of conviction in the instant offense/prior offense. This provision does not encompass persons under
             the age of 18, such as waiters, cashiers, ticket vendors, etc., whom the defendant must interact with in order to obtain ordinary and
             usual commercial services.

         13. The defendant shall not affiliate with, own, control, volunteer or be employed in any capacity by a business or organization that
             causes to regularly contact persons under the age of 18.

         14. The defendant shall not affiliate with, own, control, or be employed in any capacity by a business whose principal product is the
             production or selling of materials depicting or describing "sexually explicit conduct," as defined at 18 U.S.C. § 2256(2).

         15. The defendant's employment shall be approved by the Probation Officer, and any change in employment must be pre-approved by
             the Probation Officer. The defendant shall submit the name and address of the proposed employer to the Probation Officer at least
             ten days prior to any scheduled changes.

         16. The defendant shall not reside within direct view of school yards, parks, public swimming pools, playgrounds, youth centers, video
             arcade facilities, or other places primarily used by persons under the age of 18. The defendant’s residence shall be approved by the
             Probation Officer, and any change in residence must be pre-approved by the Probation Officer. The defendant shall submit the
             address of the proposed residence to the Probation Officer at least ten days prior to any scheduled move

         17. The defendant shall possess and use only those computers and computer-related devices, screen user names, passwords, email
             accounts, and internet service providers (ISPs), which have been disclosed to the Probation Officer upon commencement of
             supervision. Any changes or additions are to be disclosed to the Probation Officer prior to the first use. Computers and computer-
             related devices include are personal computers, personal data assistants (PDAs), internet appliances, electronic games, cellular

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              telephones, and digital storage media ,as well as their peripheral equipment, that can access, or can be modified to access, the
              internet, electronic bulletin boards, and other computers.

         18. All computers, computer-related devices, and their peripheral equipment, used by the defendant, shall be subject to search and
             seizure. This shall not apply to items used at the employment's site, which are maintained and monitored by the employer.

         19. The defendant shall comply with the rules and regulations of the Computer Monitoring Program. The defendant shall pay the cost
             of the Computer Monitoring Program, in an amount not to exceed $32 per month per device connected to the internet.

         20. The defendant shall submit to a search, at any time, with or without warrant, and by any law enforcement or probation officer, of
             the defendant's person and any property, house, residence, vehicle, papers, computers, cell phones, other electronic communication
             or data storage devices or media, email accounts, social media accounts, cloud storage accounts, effects and other areas under the
             defendant's control, upon reasonable suspicion concerning a violation of a condition of supervision or unlawful conduct by the
             defendant, or by any probation officer in the lawful discharge of the officer's supervision functions.

The Court authorizes the Probation Officer to disclose the Presentence Report, and any previous mental health evaluations or reports, to the
treatment provider. The treatment provider may provide information (excluding the Presentence report), to State or local social service
agencies (such as the State of California, Department of Social Service), for the purpose of the client's rehabilitation.

Defendant informed of his right to appeal.
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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            February 23, 2022
            Date                                                  U. S. District Judge, ANDRÉ BIROTTE JR.

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                  Clerk, U.S. District Court




            February 23, 2022                                By   /s/ V.R. Vallery
            Filed Date                                            Deputy Clerk




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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                 While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local crime;    9.     The defendant must not knowingly associate with any persons
 2.    The defendant must report to the probation office in the federal                engaged in criminal activity and must not knowingly associate with
       judicial district of residence within 72 hours of imposition of a               any person convicted of a felony unless granted permission to do so
       sentence of probation or release from imprisonment, unless                      by the probation officer. This condition will not apply to intimate
       otherwise directed by the probation officer;                                    family members, unless the court has completed an individualized
 3.    The defendant must report to the probation office as instructed by the          review and has determined that the restriction is necessary for
       court or probation officer;                                                     protection of the community or rehabilitation;
 4.    The defendant must not knowingly leave the judicial district without     10.    The defendant must refrain from excessive use of alcohol and must
       first receiving the permission of the court or probation officer;               not purchase, possess, use, distribute, or administer any narcotic or
 5.    The defendant must answer truthfully the inquiries of the probation             other controlled substance, or any paraphernalia related to such
       officer, unless legitimately asserting his or her Fifth Amendment               substances, except as prescribed by a physician;
       right against self-incrimination as to new criminal conduct;             11.    The defendant must notify the probation officer within 72 hours of
 6.    The defendant must reside at a location approved by the probation               being arrested or questioned by a law enforcement officer;
       officer and must notify the probation officer at least 10 days before    12.    For felony cases, the defendant must not possess a firearm,
       any anticipated change or within 72 hours of an unanticipated change            ammunition, destructive device, or any other dangerous weapon;
       in residence or persons living in defendant’s residence;                 13.    The defendant must not act or enter into any agreement with a law
 7.    The defendant must permit the probation officer to contact him or her           enforcement agency to act as an informant or source without the
       at any time at home or elsewhere and must permit confiscation of                permission of the court;
       any contraband prohibited by law or the terms of supervision and         14.    The defendant must follow the instructions of the probation officer
       observed in plain view by the probation officer;                                to implement the orders of the court, afford adequate deterrence from
 8.    The defendant must work at a lawful occupation unless excused by                criminal conduct, protect the public from further crimes of the
       the probation officer for schooling, training, or other acceptable              defendant; and provide the defendant with needed educational or
       reasons and must notify the probation officer at least ten days before          vocational training, medical care, or other correctional treatment in
       any change in employment or within 72 hours of an unanticipated                 the most effective manner.
       change;




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      The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable
 for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money
 order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments
 must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement,
 with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan
 or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.


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                                                                    RETURN

I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                              By
            Date                                                     Deputy Marshal

                                                                   CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.
                                                                     Clerk, U.S. District Court


                                                              By
            Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                               Date




                      U. S. Probation Officer/Designated Witness                              Date




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